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 9
                                      UNITED STATES DISTRICT COURT
10
                     NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
11

12   BRIAN AVILEZ,                                       Case No.: 5:17-cv-02954-EJD
13                      Plaintiff,
14
          v.                         STIPULATION FOR DISMISSAL OF
15
                                     DEFENDANT EXPERIAN
                                     INFORMATION SOLUTIONS, INC.;
16   EXPERIAN INFORMATION SOLUTIONS, [PROPOSED] ORDER
     INC., et al.,
17
                        Defendants.
18

19

20                TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

21                IT IS HEREBY STIPULATED by and between plaintiff Brian Avilez and defendant

22   Experian Information Solutions, Inc. that Experian Information Solutions, Inc. be dismissed

23   from this action with prejudice pursuant to Federal Rules of Civil Procedure, Rule 41(a)(2),

24   and that each party shall bear its own attorneys’ fees and costs.

25   //

26   //

27   //

28   //


               STIPULATION FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                            [PROPOSED] ORDER -1-
               Case 5:17-cv-02954-EJD Document 32 Filed 06/26/18 Page 2 of 2




 1
     DATED: June 26, 2018                                Sagaria Law, P.C.
 2
                                                  By:    /s/ Elliot Gale
 3                                                       Elliot Gale
 4
                                                         Attorney for Plaintiff Brian Avilez

 5

 6
     DATED: June 26, 2018                                Jones Day
 7
                                                  By:     /s/ Benjamin C. Lee
 8                                                       Benjamin Chung Lee
                                                         Attorney for Defendant Experian
 9
                                                         Information Solutions, Inc.
10

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
12
     Stipulation. I hereby attest that Benjamin Chung Lee has concurred in this filing.
13

14
     /s/ Elliot Gale
15

16

17
                                         [PROPOSED] ORDER
18
             Pursuant to the stipulation of the Parties, Experian Information Solutions, Inc. is
19
     dismissed with prejudice.
20
             IT IS SO ORDERED.
21

22

23

24
     DATED:
25                                                       Hon. Edward J. Davila
                                                         UNITED STATES DISTRICT JUDGE
26

27

28



         STIPULATION FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                      [PROPOSED] ORDER -2-
